                     Case 1:11-cv-00559-WMS Document 19-5 Filed 07/26/11 Page 1 of 1




       District 1

    Population Statistics                     Ethnicity                    Voter Statistics

City of Buffalo                37,428   White                  72,412   Registered Voters     50,425
City of Lackawanna             18,141   % White               86.68%
Town of Hamburg                27,969   Black                   6,322   Democrats             31,097
                                        % Black                7.57%    Republicans            8,504
Total Population               83,538   American Indian           457   Conservatives          1,548
Deviation                         -11   % American Indian      0.55%    Working Families         337
% Deviation                   0.00013   Asian                     725   Independence           2,273
                                        % Asian                0.87%    Green                     89
Age 18+                        65,281                                   Other                    502
                                        Hispanic Origin         5,747   Blank                  6,075
                                        % Hispanic Origin      6.88%
                                                                        Male                  23,136
                                        Black 18+               4,260   Female                27,289
                                        % Black 18+            6.53%
                                        Hispanic Origin 18+     3,559   Age 18 - 24            4,019
                                        % Hispanic 18+         5.45%    Age 25 - 34            8,271
                                                                        Age 35 - 40            4,580
                                                                        Age 41 - 45            4,446
                                                                        Age 46 - 54            9,113
                                                                        Age 55 - 61            6,417
                                                                        Age 62+               13,579

                                                                        Federal Voters           64
                                                                        Military Voters          90
                                                                        Disabled                807
                                                                        Nursing Home            134

                                                                        Voted 2007 Election   20,311
                                                                        Voted 2009 Election   13,868
